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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF MICHIGAN ae
IN RE: 9129 OCT 26 AM IO: 03
Case No.: 20-01826
Scholl, David Chapter 13 Proceeding Et
Filed: 5/22/2020
Debtor. Hon. John T. Gregg
/

 

NOTICE TO CREDITORS AND OTHER PARTIES IN INTEREST OF APPLICATION
FOR PROFESSIONAL FEES PURSUANT TO RULE 2016 —- AND NOTICE OF
RIGHT TO OBJECT

Notice is hereby given that the following professional persons have made application to the
Bankruptcy Court for the allowance of fees and expenses as listed below:

 

 

 

 

 

 

 

Professional (Name & Fees Expenses Fees
Address) Requested Requested Previously
Allowed by
Court
CBH Attorneys & Counselors $5,812.50 $124.20 $13,670.00
25 Division Ave S, Suite 500
(Grand Rapids, MI 49503

 

The fees requested will be paid pursuant to the terms of the confirmed Chapter 13 Plan.
Approval of the requested compensation is anticipated to have the following impact on unsecured
creditors:

(X) Allowance of the fees will reduce the amount paid to general unsecured creditors.

() Allowance of the fees may delay payment to general unsecured creditors.

() Allowance of the fees should have no impact on the dividend to general unsecured creditors.
() Allowance of the fees will increase the plan length by___ months, for a total of __ months.
() Other:

PLEASE NOTE: The application is available for public review at the Clerk’s Office, (One
Division North, Grand Rapids, MI 49503) Monday — Friday from 8:00 a.m. to 4:00 p.m. No hearing will
be set before the Court unless a written objection to this application is timely filed with the Clerk of the
Bankruptcy Court. If you have an objection, you have twenty-one (21) days from the date of this notice in
which to file such written objection. In the event that an objection is filed, a subsequent notice will be sent
to you of the date, time and location of the hearing on the objection.

Any Objection must be timely filed with:

U.S. Bankruptcy Court, W.D. Mich. A copy of any objection must also be served upon

 

 

One Division Ave. NW, Room 200 CBH Attorneys & Counselors
Grand Rapids, MI 49503 25 Division Ave S, Suite 500
Grand Rapids, MI 49503
Date Notice Served: October 26, 2022 /s/ Steven M. Bylenga
CBH Attorneys & Counselors

Attorney for Debtors

25 Division Ave S, Suite 500
Grand Rapids, Michigan 49503
Phone: (616) 608-3061
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